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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

 PENDLETON HEIGHTS GAY-STRAIGHT                    )
 ALLIANCE, an unincorporated association,          )
                                                   )
                     Plaintiff,                    )
                                                   )
                v.                                 )     No. 1:21-cv-02480-JRS-TAB
                                                   )
 SOUTH MADISON COMMUNITY                           )
 SCHOOL CORPORATION, et al.,                       )
                                                   )
                     Defendants.                   )

            Memorandum in Support of Motion for Preliminary Injunction

 Introduction

       The Equal Access Act, 20 U.S.C. § 4071, is explicit. If a school that receives federal

 financial assistance allows one or more non-curriculum related groups to meet at the

 school during noninstructional time, it cannot discriminate against a group based on the

 content of the group’s speech. Groups not only must be allowed to meet on an equal

 footing but must be allowed the same access to the means of publicizing and advancing

 the group’s activities. Although the defendants (“School”) allow the Pendleton Heights

 Gay-Straight Alliance (PHGSA) to meet at Pendleton Heights High School during

 noninstructional time, the School prohibits the group from being able to advertise at the

 high school, despite allowing other groups, both those related to the curriculum and

 those not related, to do so. PHGSA also is not and will not be listed in the Student


                                             [1]
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 Handbook. Not only does this violate the Equal Access Act, but it violates the rights of

 PHGSA and its members secured by the First Amendment and the Equal Protection

 Clause. All the other requirements for the grant of a preliminary injunction are met and

 one should issue, without bond, so that PHGSA and its members may be afforded the

 equal access demanded by the Equal Access Act and the Constitution.

 Facts1

          Pendleton Heights High School is a public high school, located in Pendleton,

 Indiana. (Declaration of Reece Axel-Adams [attached to this memorandum as Exhibit 1]

 [“Axel-Adams Dec.”] ¶ 2). It contains approximately 1,400 students in grades 9-12. (Axel-

 Adams Dec. ¶ 3).

          The Pendleton Heights Student Handbook lists a number of school clubs or groups

 that are allowed to meet during noninstructional times at the school. (Axel-Adams Dec.

 ¶ 7; Attachment to Axel-Adams Dec. [“Handbook” excerpt] at 73-76). The groups include

 those that are obviously directly tied to courses at the school, such as foreign language

 clubs. (Handbook at 74-76 [listing a German National Honor Society, German Club,

 French Honor Society, French Club, Spanish Honor Society, and Spanish Club]). It also

 lists groups that are not directly related to courses at the school and that do not lead to

 academic credit. (Id. [listing Best Buddies, a group “dedicated to ending the social,




 1      Inasmuch as no discovery has yet occurred in this case, PHGSA reserves the right to
 present further evidence prior to, or at, the preliminary injunction hearing.
                                             [2]
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 physical and economic isolation of the 200 million people with intellectual and

 developmental disabilities”; Mat Maids, a group supporting wrestling; SADD, a group

 promoting the making of good choices and leading a healthy lifestyle; and Outdoor

 Adventure Club, a group providing outdoor activities to interested students]; Axel-

 Adams Dec. ¶ 9). Additionally, other groups are allowed to meet at the high school that

 are not in the Handbook. These include Fellowship of Christian Athletes; E-gaming, for

 electronic game enthusiasts; Robotics, for those interested in building robots; and Bring

 Change to Mind, which encourages dialogue about mental health. (Id. ¶12). Participation

 in these groups is not required by any course and does not result in academic credit. (Id.

 ¶ 13).

          Another group that is being allowed to meet at the school during noninstructional

 time is PHGSA. (Id. ¶ 16). It is not listed in the Handbook. (Handbook at 74-76). PHGSA

 is a group that allows gay, lesbian, bisexual, transgender, non-binary and allied students

 to meet in order to provide social, emotional, and educational support to each other.

 (Axel-Adams Dec. ¶ 17). It also serves to inform the school community as a whole of the

 existence of gay, lesbian, bisexual, and transgender students and is designed to foster

 acceptance of all students regardless of their sexual orientation. (Id.). It had existed at the

 high school in prior years, although it ceased regularly meeting until recently. (Id. ¶ 14).

 It now has a faculty sponsor and meets in her classroom after instructional time. (Id. ¶




                                               [3]
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 18). Its meeting has caused no disruption to the school or to the educational environment.

 (Id.).

          Many of the groups at the high school, including some that are not directly related

 to curricular offerings, are allowed to publicize their existence and meetings by posting

 information on bulletin boards at the school. (Id. ¶¶ 11-13). Their activities may be

 mentioned in the daily announcements at the High School that are broadcast on the

 school’s radio station. (Id.). However, the Principal of the high school has determined that

 PHGSA is an “unofficial” club and as such is not allowed to advertise at the school and

 will not be publicized through the announcements on the radio station. (Id. ¶ 19). As an

 “unofficial” club it is not and will not be listed in the Student Handbook. (Id.). It is unclear

 whether there are any other “unofficial” clubs that are so burdened as, for example,

 Fellowship of Christian Athletes is not listed in the Handbook but is allowed to advertise

 on school bulletin boards and be mentioned on the announcements broadcast through

 the radio station. (Id. ¶ 13).

          The rationale of the Principal in denying PHGSA the same access that other groups

 are provided is that when it comes to issues concerning gay, lesbian, transgender, non-

 binary, and similar persons, the School must remain neutral. (Id. ¶ 20).

          Given that PHGSA has only recently resumed operation it needs to be able to

 advertise to grow its membership. (Id. ¶ 21). Moreover, PHGSA fulfills a vitally important

 role in providing a place of care and community for a group of students who often lack


                                               [4]
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 such support. (Id. ¶ 22). The inability of PHGSA to advertise and expose students to its

 existence and beneficial purposes is causing it to have fewer members than it would if it

 were given the same ability as other clubs to advertise. (Id. ¶ 23). And this inability

 severely hinders and impedes the basic purpose of PHGSA, which is to be a place of

 shelter, support, and education, not just for gay, lesbian, transgender, and non-binary

 students, but for all students at the high school. (Id. ¶ 24). This limitation also subverts its

 purpose to assist the school community as a whole in becoming comfortable with these

 students and in fostering tolerance and acceptance. (Id. ¶ 17).

        Pendleton Heights High School receives Federal financial assistance as can be seen

 by, among other things, its participation in the United States Department of Agriculture

 free lunch and breakfast program. (Exhibit 2 to this Memorandum [South Madison

 Community           School       Corporation,         USDA          Free       Meals       Waiver,

 http://smadison.k12.in.us/departments/nutrition_services/u_s_d_a_free_meals_waiver

 (last visited 10/6/21) (referring to the high school as well as elementary and middle

 school)]).2

 The preliminary injunction standard

        The standard in the Seventh Circuit for the granting of a preliminary injunction is



 2        The receipt of USDA funded school meals is, of course, “federal financial assistance.” See,
 e.g., Jauquet v. Green Bay Catholic Education, 2020 WL 5016817, *1 (E.D. Wisc. Aug. 25, 2020)
 (“Defendant operates a Catholic school system … and receives federal financial assistance
 including funding through the National School Lunch Program.”) (referring to a claim under Title
 IX, 20 U.S.C. § 1681(a)), aff’d 996 F.3d 802 (7th Cir. 2021).
                                                 [5]
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 clear. In order to determine whether a preliminary injunction should be granted, the

 Court weighs several factors:

        (1) whether the plaintiff has established a prima facie case, thus
            demonstrating at least a reasonable likelihood of success at trial;
        (2) whether the plaintiff’s remedies at law are inadequate, thus causing
            irreparable harm pending the resolution of the substantive action if the
            injunction does not issue;
        (3) whether the threatened injury to the plaintiff outweighs the threatened
            harm the grant of the injunction may inflict on the defendant; and
        (4) whether, by the grant of the preliminary injunction, the public interest
            would be disserved.

 See, e.g., Baja Contractors, Inc. v. City of Chicago, 830 F.2d 667, 675 (7th Cir. 1987). The heart

 of this test, however, is “a comparison of the likelihood, and the gravity of two types of

 error: erroneously granting a preliminary injunction, and erroneously denying it.” Gen.

 Leaseways, Inc. v. Nat’l Truck Leasing Ass’n, 744 F.2d 588, 590 (7th Cir. 1984).

 Argument

 I.     PHGSA will prevail on the merits of its claims

        A.      The actions of the School violate the Equal Access Act

                1.     The Equal Access Act applies when a covered school has one or
                       more clubs that are not directly related to the courses offered by
                       the school

        The Equal Access Act provides that:

        It shall be unlawful for any public secondary school which receives Federal
        financial assistance and which has a limited open forum to deny equal
        access or a fair opportunity to, or discriminate against, any students who
        wish to conduct a meeting within that limited open forum on the basis of
        the religious, political, philosophical, or other content of the speech at such
        meetings.
                                                [6]
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 20 U.S.C. § 4071(a). The Act further states that “[a] public secondary school has a limited

 open forum whenever such school grants an offering to or opportunity for one or more

 noncurriculum related student groups to meet on school premises during

 noninstructional time.” 20 U.S.C. § 4071(b).

        In Board of Education of Westside Community Schools v. Mergens, 496 U.S. 226 (1990),

 a proposed student Christian club claimed a violation of the Equal Access Act after it

 was not allowed to meet at a high school as a recognized club. The Court noted that the

 Equal Access Act was triggered when a school allows one or more noncurriculum

 related school groups to meet during noninstructional time, but that the Act did not

 define the term “noncurriculum related student groups.” Id. at 237. However, after

 examining the statutory language and its broad legislative purpose, the Court concluded

        that the term “noncurriculum related student group” is best interpreted
        broadly to mean any student group that does not directly relate to the body
        of courses offered by the school. In our view, a student group directly
        relates to a school’s curriculum if the subject matter of the group is actually
        taught, or will soon be taught, in a regularly offered course; if the subject
        matter of the group concerns the body of courses as a whole; if participation
        in the group is required for a particular course; or if participation in the
        group results in academic credit. We think this limited definition of groups
        that directly relate to the curriculum is a commonsense interpretation of the
        Act that is consistent with Congress’ intent to provide a low threshold for
        triggering the Act’s requirements.

 Id. at 239-40 (emphasis by the Court).

        The Court therefore concluded that a club is not curriculum related if it is only

 “remotely related to abstract educational goals.” Id. at 244. Applying the Act’s “low
                                                [7]
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 threshold” the Court concluded that the school’s Peer Advocates program, a service

 group working with special education classes, was not curriculum related. Id. at 245-46.

 Similarly, the school’s Chess Club was not directly related to any class. Id. at 245. Nor

 was the scuba diving club. Id. The Court therefore found that the school was subject to

 the Equal Access Act and a “limited open forum” had been created. Id. at 247.

        Given this, the question was whether the statutory rights of the Christian club,

 which was not allowed to formally meet as a recognized club, had been violated. The

 Court acknowledged that the group had been allowed to meet informally after school

 hours, but that the proposed club “seek[s] equal access in the form of official recognition

 by the school. Official recognition allows student clubs to be part of the student activities

 program and carries with it access to the school newspaper, bulletin boards, the public

 address system, and the annual Club Fair.” Id. at 247 (internal citation omitted). Inasmuch

 as the statute prohibits the denial of equal access on the basis of, among other things, the

 religious content of the group, the Court concluded that the proposed student group’s

 rights under the statute had been denied. Id.

        Following Mergens numerous cases have found that once a school creates a

 “limited open forum” by allowing at least one noncurriculum related group to meet, it

 must allow gay-straight alliances (GSAs) to meet. See, e.g., Straights and Gays for Equality

 (SAGE) v. Osseo Area Schools-Dist. No. 279, 540 F.3d 911 (8th Cir. 2008) (“SAGE II”) (given

 that the school had noncurriculum groups the Equal Access Act was violated by the


                                              [8]
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 limitations imposed on the school GSA that were not imposed on other noncurriculum

 related groups); Carver Middle School Gay-Straight Alliance v. School Bd. of Lake Co., Florida,

 249 F. Supp. 3d 1286, 1290 (M.D. Fla. 2017) (rejection of an application by a proposed

 school GSA violated the Equal Access Act); Gonzalez through Gonzalez v. School Bd. of

 Okeechobee Co., 571 F. Supp. 2d 1257, 1267 (M.D. Fla. 2008) (Equal Access Act required that

 school recognize GSA as a noncurricular student group); White Co. High School Peers

 Rising In Diverse Education v. White County School District, 2006 WL 1991990, *12 (N.D. Ga.

 July 14, 2006) (given that the school maintained a limited open forum under the Equal

 Access Act, the refusal to allow a GSA to meet violated the Act); Boyd County High School

 Gay Straight Alliance v. Bd. of Educ. of Boyd County, Ky., 258 F. Supp. 2d 667, 693 (E.D. Ky.

 2003) (granting a preliminary injunction in favor of a student GSA, finding that it was

 likely to establish a violation of the Equal Access Act); Franklin Central Gay/Straight

 Alliance v. Franklin Twp. Comm. School Corp., 2002 WL 32097530, *21 (S.D. Ind. Aug. 30,

 2002) (granting summary judgment to the GSA and finding that the school’s refusal to

 allow it to meet as an official club violated the Equal Access Act).

        Of course, once a limited open forum is created a student group not only must be

 allowed to meet but must be given the same access as other groups to the benefits of being

 a recognized group. Mergens, 496 U.S. at 247. Thus, if other student groups, even though

 not directly curriculum related, are allowed to be formally recognized by the school and

 to advertise, all groups must be treated similarly. In SAGE II the GSA had been allowed


                                               [9]
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 to meet at the school (“MGHS”) but had not been granted the same communication access

 as groups labelled by the school as curriculum related but were not actually so. 540 F.3d

 at 913. This partial access did not satisfy the requirements of the Equal Access Act.

        Here, MGHS does not prohibit SAGE from meeting at the school or utilizing
        some avenues of communication, but it limits SAGE’s access to
        communication avenues and meeting times and places. Curricular groups
        receive more extensive use of school communication avenues. Thus, the
        issue is not whether MGHS provides SAGE access to some avenues of
        communication but whether it provides equal access to available avenues
        of communicate as provided to other noncurriculum related groups. We
        hold that it does not.

 Id. at 914 (footnote omitted). Accordingly, the court affirmed the judgment of the district

 court that had enjoined the school to provide the GSA “with the same access for meetings,

 avenues of communication, and other miscellaneous rights that are afforded to MGHS’s

 student groups classified as ‘curricular.’” Id. at 912. A school must allow “the GSA all

 attendant benefits uniformly afforded to each of its noncurricular student groups and

 may not place restrictions on the GSA that are not uniformly applied to all noncurricular

 student groups.” Gonzalez, 571 F. Supp. 2d at 1267. And, in Boyd County, the court

 concluded that

        defendants must give the GSA Club and its members equal access to those
        activities of student groups permitted at BCHS and not directly related to
        the curriculum, including the opportunity to meet before school (as the
        Bible Club has done), after school (as the drama group has done), and
        during home room (as many other student groups have done); to submit
        announcements about schedule changes and events to be read over the
        loudspeaker during home room, to submit information about the GSA Club
        to be published in the school newspaper, and to post information
        about GSA Club meetings and activities on the appropriate school bulletin
                                             [10]
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        boards.

 258 F. Supp. 2d at 693.

                2.      A limited open forum exists at Pendleton Heights High School

        “The circle of groups considered ‘curriculum related’ has a relatively small

 circumference.” Straights and Gays for Equality (SAGE) v. Osseo Area Schools-District No.

 279, 471 F.3d 908, 911 (8th Cir. 2006) (“SAGE I”). Here the evidence is clear that there are

 numerous groups at Pendleton Heights High School that are outside of this small area—

 they are noncurriculum related. These include Mat Maids, Students Against Destructive

 Decisions (“SADD”), Fellowship of Christian Athletes, Best Buddies, Outdoor Adventure

 Club, E-gaming, Robotics, and Bring Change to Mind. (Axel-Adams Dec. ¶¶ 9, 12). 3 Given

 that a limited open forum for purposes of the Equal Access Act is created when at least

 one noncurriculum related club is allowed to meet on school premises during




 3       The question of whether or not a school organization is curriculum related is a fact
 question, with the burden of proof on the School. Mergens, 496 U.S. at 240; Pope by Pope v. East
 Brunswick Bd. of Educ., 12 F.3d 1244, 1252 (3d Cir. 1993). However, courts, including this Court,
 have recognized that some of the above groups, at least in other schools, are not curriculum
 related. In Franklin Central Gay/Straight Alliance Judge McKinney noted that both the SADD and
 Mat Maids groups at the school in question were not academic clubs. 2002 WL 32097530 at *2. See
 also Westfield High Sch. L.I.F.E. Club v. City of Westfield, 249 F. Supp. 2d 98, 117 n.17 (D. Mass 2003)
 (noting that SADD was not curriculum related). In American Humanist Association, Inc. v. Douglas
 County School Dist. RE-1, 859 F.3d 1243, 1248 (10th Cir. 2017), Fellowship of Christian Athletes
 was referred to as a “non-curricular club at the school.” And, in Krestan v. Deer Valley Unified
 School District No. 97, of Maricopa County, 561 F. Supp. 2d 1078, 1082 (D. Ariz. 2008), Best Buddies
 was recognized (along with a GSA) as one of a number of “noncurriculum clubs.”


                                                   [11]
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 noninstructional time, 20 U.S.C. § 4071(b), it is clear that such a forum has been created

 by the School here. The strictures of the Act therefore apply.

               3.     The School is violating the Equal Access Act with regard to
                      PHGSA and its members

        As noted, the equal access demanded by the Equal Access Act requires that a

 noncurriculum related student group be given all the benefits of “[o]fficial recognition,

 such as “access to the school newspaper, bulletin boards, the public address system, and

 the annual Club Fair.” Mergens, 496 U.S. at 248. The Act is violated if a student

 organization is denied this access “on the basis of the religious, political, philosophical,

 or other content of the speech” of the group. 20 U.S.C. § 4071(a). Although PHGSA is

 being allowed by the School to meet on school premises after school hours, there is no

 doubt that it is being denied the full access granted to other noncurriculum related groups

 and that this denial is solely because of the nature and content of the organization’s

 speech.

        Given that, for example, Mat Maids, whose purpose “is to support wrestling by

 attending the meets and serving as host/hostesses at all tournaments” is listed in the

 Student Handbook and is allowed to advertise at the school and fundraise (Handbook at

 75), it is clear that PHGSA is being denied equal access. 4 Similarly, a club designed to



 4       The Handbook listing for Mat Maids also notes that “[s]upport is also given to the
 wrestling team through money-making projects. Many social gatherings are held to provide
 opportunity for Mat Maids, wrestlers, parents, and friends to come together for fun.” (Handbook
 at 75).
                                              [12]
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 “provide students with opportunities for outdoor activities” is listed in the Handbook

 and may have its information announced during school announcements over the campus

 radio station. (Handbook at 76; Axel-Adams ¶ 11). Of course, as noted above, these are

 not the only noncurricular groups that are given access to advertising and other

 opportunities at the School, (Axel-Adams ¶¶ 9-13), opportunities that are denied to

 PHGSA.

       This denial of equal access is unlawful under the Act if it is based on the content

 of the expression of PHGSA. It clearly is. The Principal has stated that the reason that

 PHGSA is being denied the same access granted to many noncurriculum related groups

 is to allow the School to remain “neutral” on LGBT issues. The School’s actions are

 therefore based solely on the message that PHGSA expresses concerning those issues.

 This is content-based and is unlawful. In an analogous situation in Franklin Central

 Gay/Straight Alliance the defendants were willing to allow a GSA to meet but wanted it to

 change its name to “the Diversity Club” to appeal to all marginalized students, not just

 to LGBT students. 2002 WL 32097530, *1. In granting summary judgment to the plaintiffs,

 Judge McKinney found that the school’s “attempt to force GSA to dilute its message”

 violated the Equal Access Act. 2002 WL 32097530, *21. The same is true here. The School

 is attempting to dilute and suppress the message of PHGSA precisely because of the

 message. The Act is violated.

       B.     The School’s actions also violate the First Amendment


                                           [13]
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        Given the clear statutory violation here, there is no need to address PHGSA’s

 further argument that its First Amendment rights and those of its members have been

 violated. See, e.g., Mergens, 496 U.S. at 247 (“Because we rest our conclusion on statutory

 grounds, we need not decide—and therefore express no opinion on—whether the First

 Amendment requires the same result.”); Boyd County, 258 F. Supp. 2d at 691 (same);

 Franklin Central Gay/Straight Alliance, 2002 WL 32097530, *21 (same). However, the First

 Amendment violation here is apparent.

        The most rigorous scrutiny under the First Amendment is reserved for content-

 based regulations of expression. This is because “a government . . . has no power to

 restrict expression because of its message, its ideas, its subject matter, or its content” and

 therefore “[c]ontent-based laws – those that target speech based on its communicative

 content – are presumptively unconstitutional and may be justified only if the government

 proves that they are narrowly tailored to serve compelling state interests.” Reed v. Town

 of Gilbert, Arizona, 576 U.S. 155, 163 (2015) (internal quotations and citations omitted). In

 the context of schools, the Supreme Court has held that generally students retain their

 First Amendment rights unless the school demonstrates that the expression caused or

 would cause a material and substantial interference with the educational function of the

 school. Tinker v. Des Moines Indep. Sch. Community Sch. Dist., 393 U.S. 503, 509 (1969).5



 5      The Equal Access Act incorporates the Tinker standard by providing that a school does
 not have to allow meetings that “materially and substantially interfere with the orderly conduct
 of educational activities within the school” and further provides that “[n]othing in this subchapter
                                                 [14]
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 Such interference may justify some intrusion into the First Amendment rights of

 students.6

         The School is explicitly denying the benefits to PHGSA afforded to many other

 student organizations because of the pro-LGBT message delivered by the group and the

 perceived desire of the School to stay “neutral” regarding that message. This is obviously

 content based. The group, meeting after school during noninstructional time, has not

 been, and will not be, disruptive of the high school’s educational environment. There is

 therefore no justification, compelling or otherwise, that supports the School’s decision.

 The School’s treatment of PHGSA and its members therefore violates the First

 Amendment as well as the Equal Access Act.

         C.      The School’s treatment of PHGSA violates the equal protection rights of
                 the group and its members

         If an equal protection challenge is mounted to a classification that burdens a

 fundamental right or a suspect class, it must satisfy strict scrutiny, i.e., it must be narrowly

 tailored to support a compelling interest. Zablocki v. Redhail, 434 U.S. 673, 679, 682 (1978);




 shall be construed to limit the authority of the school, its agents or employees, to maintain order
 and discipline on school premises, to protect the well-being of students and faculty, and to assure
 that attendance of students at meetings is voluntary.” 42 U.S. C. § 4071 (c)(4), (f). Hsu ex rel. Hsu
 v. Roslyn Union Free Sch. Dist. No. 3, 85 F.3d 839, 870 (2d Cir. 1996).

 6      The Supreme Court has also recognized that a content-based restriction on student speech
 in school is permissible if the speech is profane or lewd or endorses drug use. Morse v. Frederick,
 551 U.S. 393, 409 (2007); Bethel School Dist. No. 403 v. Fraser, 478 U.S. 675, 685 (1986). The expression
 of PHGSA does not fall into these categories of speech.
                                                   [15]
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 Baskin v. Bogan, 12 F. Supp. 3d 1144, 1159 (S.D. Ind. 2014) (citing Zablocki), aff’d, 766 F.3d

 648 (7th Cir. 2014). “[I]f a law neither burdens a fundamental right nor targets a suspect

 class, [a court] will uphold the legislative classification so long as it bears a rational

 relation to some legitimate end.” Romer v. Evans, 517 U.S. 620, 631 (1996).

           As noted, the actions of the School burden the fundamental expressive rights of

 PHGSA and its members. The sole justification for the differential treatment meted out

 to PHGSA is the School’s avowed interest in remaining “neutral.” It is not clear how

 allowing a club to exist is an abandonment of neutrality. Certainly, a lawsuit would not

 club recognized by the School is an abandonment of the School’s constitutionally

 mandated neutrality towards religion given that “the guarantee of neutrality is respected,

 not offended, when the government, following neutral criteria and evenhanded policies,

 extends benefits to recipients whose ideologies and viewpoints, including religious ones,

 are broad and diverse.” Rosenberger v. Rector and Visitors of Univ. of Va., 515 U.S. 819, 839

 (1995).

           Indeed, determining that the School should remain “neutral” with respect to

 PHGSA, but abandoning the need to remain neutral with respect to Christian athletes, or

 with regard to persons working with those with developmental disabilities, or those who

 enjoy outside activities, is itself a content-based decision on the part of the School.

 Moreover, making a neutrality argument makes little sense against the backdrop of the

 Equal Access Act that was enacted specifically to enforce the neutrality that Congress


                                              [16]
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 believed was not being observed in the treatment of student groups. Mergens, 496 U.S. at

 234 (citing Widmar v. Vincent, 454 U.S. 263 (1981), and Congress’s extension of the Widmar

 reasoning to secondary schools in the Equal Access Act). Indeed, in Mergens, the Court

 rejected the argument that allowing the religious club to meet at the school violated the

 neutrality demanded by the Establishment Clause as “there is a crucial difference

 between government speech endorsing religion, which the Establishment Clause forbids,

 and private speech endorsing religion, which the Free Speech and Free Exercises Clauses

 protect.” 496 U.S. at 250 (Court’s emphasis). As the Court noted, “[w]e think that

 secondary school students are mature enough and are likely to understand that a school

 does not endorse or support student speech that it merely permits on a nondiscriminatory

 basis.” Id. Granting PHGSA the same benefits and privileges as other noncurriuclum

 related clubs is neutral and will be perceived as such.

        There is therefore not a compelling justification for the difference in treatment that

 burdens PHGSA and its members equal protection rights. Strict scrutiny is not met. But

 even if the highly deferential rational basis scrutiny applied, see Box v. Planned Parenthood

 of Indiana and Kentucky, Inc., __U.S.__, 139 S. Ct. 1780, 1782 (2019) (per curiam), the

 differential treatment at issue here would fail to satisfy it. Even under rational-basis

 review, “courts examine, and sometimes reject, the rationale offered by the government

 for the challenged discrimination.” Baskin, 766 F.3d at 654) (citing Village of Willowbrook v.




                                              [17]
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 Olech, 523 U.S. 562 (2000) (per curiam)). See also, e.g., Romer, 517 U.S. at 626-35; City of

 Cleburne v., Cleburne Living Center, 473 U.S. 432, 447-50 (1985).

        Certainly, maintaining neutrality is a legitimate interest. However, discriminating

 against PHGSA is not rationally related to that interest. Again, allowing PHGSA to have

 the same benefits as other noncurriculum related organizations is not a surrender of

 neutrality. As the Court stated in Mergens, in language apposite to this case,

        petitioners’ fear of a mistaken inference of endorsement is largely self-
        imposed, because the school itself has control over any impressions it gives
        its students. To the extent a school makes clear that its recognition of
        respondents’ proposed club is not an endorsement of the views of the club’s
        participants . . . students will reasonably understand that the school’s
        official recognition of the club evinces neutrality toward, rather than
        endorsement of, [the club’s] speech.

 496 U.S. at 251. The discrimination against PHGSA fails even rational basis scrutiny as it

 is not rationally related to the articulated purpose of maintaining neutrality, and given

 the beneficial purposes served by the group, there are no rational reasons justifying the

 School’s position and actions.

 II.    The other requirements for the grant of a preliminary injunction are met

        A.     PHGSA and its members are facing irreparable harm for which there
               is no adequate remedy at law

        It is beyond dispute that “the loss of First Amendment freedoms, even for minimal

 periods of time unquestionably constates irreparable injury.” Elrod v. Burns, 427 U.S. 347,

 373 (1976). The same is true of violations of the Equal Access Act, a law that “protects free

 speech rights.” Hsu, 85 F.3d at 872. Moreover, PHGSA has been hampered in its beneficial
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 purpose of providing education and refuge to marginalized students and this “inability

 to effectively address the hardships” encountered by members and potential members is

 also irreparable harm. Colin ex rel. Colin v. Orange Unified School Dist., 83 F. Supp. 2d 1135,

 1149 (C.D. Calif. 2000) (granting a preliminary injunction in favor of a GSA). Absent a

 preliminary injunction, PHGSA will be hampered in providing a necessary “forum for

 discussion with other students who are suffering the effects of harassment based on

 sexual orientation, and [will be] unable to work with other students to foster tolerance

 among all students.” Boyd County, 258 F. Supp. 2d at 692.

        The Seventh Circuit has stressed that the “[t]he loss of First Amendment freedoms

 is presumed to constitute an irreparable injury for which money damages are not

 adequate.” Christian Legal Soc’y v. Walker, 453 F.3d 853, 859 (7th Cir. 2006). Similarly,

 money damages are not sufficient to rectify the irreparable injuries being suffered here

 by PHGSA and its members.

        B.     The balance of harms favors PHGSA and its members

        The Seventh Circuit in Christian Legal Society stressed that a governmental entity

 cannot claim that requiring it to comply with the First Amendment is harmful or

 burdensome. See 453 F.3d at 867 (holding that if a governmental entity “is applying [a]

 policy in a manner that violates [the plaintiff’s] First Amendment rights . . . then [the]

 claimed harm is no harm at all”). The same is true of compliance with the Equal Access

 Act that, as noted above, protects free speech rights. Hsu, 85 F.3d at 872.


                                              [19]
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        Moreover, “[c]ompliance with an injunction will not require much effort or

 expense, nor will allowing the GSA Club to meet harm others.” Boyd County, 258 F. Supp.

 2d at 692. This lack of harm to the School must be balanced against the clear and

 continuing harm being suffered by PHGSA and its members. The balance of harms is

 clearly in the favor of plaintiff and its members.

        C.     The public interest will be served by the grant of a preliminary
               injunction

        “Just as constitutional violations—and by extension Equal Access Act violations—

 constitute irreparable harm. the exoneration of any such violations would serve to satisfy

 the public interest requirement.” Boyd County, 258 F. Supp. 2d at 692. The Seventh Circuit

 has noted that “injunctions protecting First Amendment freedoms are always in the

 public interest.” Christian Legal Society, 453 F.3d at 859. The same is true here.

        “Additionally, while the primary teachers of tolerance should always be the

 parents and not the teachers and school administrators, school officials can play a vital

 role in fostering tolerance to its students. If, by permitting the GSA Club to meet, students

 are less likely to be the subject of hate crimes by fostering tolerance in the school

 community, the public interest is served.” Boyd County, 258 F. Supp. 2d at 692.

 III.   The preliminary injunction should issue without bond

        While Federal Rule 65, by its terms, requires that a preliminary injunction be

 accompanied by “security in an amount that the court considers proper to pay the costs

 and damages sustained by any party found to have been wrongfully enjoined,” Fed. R.
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 Civ. P. 65(c), no bond should be required in the absence of monetary injuries. See, e.g.,

 Doctor’s Assocs., Inc. v. Stuart, 85 F.3d 975, 985 (2d Cir. 1996). The issuance of a preliminary

 injunction will not result in any monetary harm to the School, and no bond should be

 required.

 Conclusion

        A preliminary injunction should therefore issue, without bond, requiring the

 School to allow the PHGSA to be listed in the Student Handbook and to be given the

 same access to bulletin boards, radio announcements, and other means of publicity, as

 other noncurricular related clubs.



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                                   Certificate of Service

        I hereby certify that on this 6th day of October 2021, a copy of the foregoing was
 filed electronically with the Clerk of this Court and was served on the below-named
 persons by first class U.S. postage, pre-paid.

       South Madison Community School Corporation
       203 S. Heritage Way
       Pendleton, IN 46064

       Principal
       Pendleton Heights High School
       1 Arabian Drive
       Pendleton, IN 46064



                                                   Kenneth J. Falk
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